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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEVV YORK
                                                              X


  DAVID SOLL,
                                                                  STIPULATION OF
                                                 Plaintìff,       SETTLEMENT AND ORDER OF
                                                                  DISMISSAL
                         -against-
                                                                  11cv2143 (ENV) (VVP)
  THE CITY OF NEW YORK, P.O. TERRANCE
  SMALLS, Tax 93948l,lndividually and in his
  Official Capacity, P.O. LLOYD HANSON Shield
  No. l4534,Individually and in his Official Capacity,
  and P.O.'s "JOHN DOE" #1-10, Individually and in
  their Official Capacity (the name John Doe being
  fictitious, as the true names are presently unknown),

                                              Defendants
                                                              X



                 WHBREAS, plaintiff commenced this action by filing a complaint on or about

  May 3, 2011, alleging that the defendants violated plaintifls federal civil and state common law

  rights; and

                 WHEREAS, defendants City, Officer Terrance Smalls and Officer Lloyd

  Hanson have denied any and    all liability arising out of plaintifls allegations;   and

                 WHBREAS, the parties now desire to resolve the issues raised in this litigation,

  without further proceedings and without admitting any fault or liability; and

                 \ryHERBAS, plaintiff has authorized his counsel to settle this matter on the terms

  set forth below;

                 NOW, THEREFORE,            IT IS HEREBY STIPULATED AND AGREED,                 bY


  and between the undersigned, as follows:
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                  l.       The above-referenced action is hereby dismissed against defendants, with

  prejudice, and without costs, expenses, or attorneys' fees in excess of the amount specified in

  paragraph   "2" below.

                  2.       Defendant City of New York hereby agrees to pay plaintiff David Soll the

  sum   of   Eighteen Thousand ($18,000.00) Dollars      in full satisfaction of all claims, including

  claims for costs, expenses and attorneys' fees. In consideration for the payment of this sum,

  plaintiff agrees to dismissal of all the claims against the defendants and to release the defendants

  and any present or former employees and agents           of the City of New York or any entity
  represented by the Office of the Corporation Counsel, from any and all liability, claims, or rights

  of action alleging a violation of plaintifls civil rights, from the beginning of the world to the

  date of the GeneralRelease, including claims for costs, expenses, and attorneys' fees.

                  3.       Plaintiff shall execute and deliver to defendant City of New York's

  attorney   all documents necessary to effect this settlement, including, without limitation,           a


  General Release based on the terms of paragraph 2 above and an       Affidavit of Status of Liens.    If
  Medicare has provided payment and/or benefits for any injury or condition that is the subject of

  this lawsuit, prior to tendering the requisite documents to effect this settlement, plaintiff shall

  have notified Medicare and shall submit with the settlement documents a Medicare final demand

  letter for conditional payments.      A Medicare   Set-Aside Trust may also be required      if   future

  arrticipated medical costs are found to be necessary pursuantto 42 U.S.C. $ 1395y(b) and 42

  C.F.R. $$ 4l 1 .22 through 411 .26.

                  4.       Nothing contained herein shall be deemed to be an admission by             the

  defendants that they have    in any manner or way violated plaintifls rights, or the rights of      any

  other person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations   of



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  the United States, the State of New York, or the City of New York or any other rules or

  regulations of any department or subdivision of the City of New         York. This stipulation     shall not

  be admissible in, nor is   it related to, any other litigation or settlement negotiations,

                   5.      Nothing contained herein shall be deemed to constitute       a   policy or practice

  of the City of New York or any agency thereof.

                   6.      Plaintiff agrees to hold harmless defendants regarding any liens or            past

  and/or future Medicare payments, presently known or unknown, in connection with this matter.

  If conditional   and/or future anticipated Medicare payments have not been satisfied, defendants

  reserve the right   to issue a multiparty settlement check naming Medicare as a payee or to issue          a


  check to Medicare directly based upon Medicare's fìnal demand letter.

                   7.      This Stipulation and Order contains all the terms and conditions agreed

  upon by the parties hereto, and no oral agreement entered into at any time nor any written

  agreement entered into prior to the execution of this Stipulation and Order regarding the subject

  matter of the instant proceeding shall be deemed to exist, or to bind the parlies hereto, or to vary

  the terms and conditions contained herein.




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  Dated: New Y ork, New York
                                20t2

  Cohen & Fitch LLP                         MICHAEL A. CARDOZO
  Attorneys þr Plaintiff                    Corporation Counsel of the
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                                            New York, New York 1


  By:                                  By
        M        Shroyer                    Linda            u
        Attorneyfor Plaintiff                    tant
                                            As s is     C orpo   ration Counse I

                                            SO ORDERED




                                            HON. ERIC N VITALIANO
  Dated: New York, New York
                                            UNITED STATES DISTRICT JUDGE
                            20t2




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